Case 2:04-CV-02433-SHI\/|-tmp Document 27 Filed 06/16/05 Page 1 of 2 Page|D 33

 

FH.ED 21 \ .
IN THE UNITED sTATEs DISTRICT COURT 'I“}'("

FOR THE WESTERN DIsTRIcT oF TENNESSEE 05 JU\,
WESTERN DIvIsIoN ii 15 A'!HU: 3'

f"‘\/“'\"'\r-¢--
'¢m»:ss‘ ~.\:<M>
K:MBERLY PATTERSON, W'D‘ Ci: iii-51 timms

Plaintiff,
vS' No. 04-2433-Map

MEMPHIS MANAGED CARE, INC., ET AL.,

Defendants.

 

ORDER GRANTING MOTION FOR EXTENSION OF DEADLINES

 

Before the court is the June 24, 2005, joint motion of the
parties requesting that the discovery deadline and the
dispositive motions deadline in this matter be extended. For
good cause shown, the motion is granted. The deadline for
completing discovery is extended to July 18, 2005. The deadline
for filing potentially dispositive motions is extended to August
22, 2005.

All other dates remain in effect as previously set. Absent
good cause, the amended schedule set by this order will not be
modified or extended.

So ORDERED this JS"{r(‘day of June, 2005.
M\//WL--`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

mem
.5 GQCU\ r'lg 3
W'\m me 53 audio
\N"\

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-02433 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

ESSEE

 

John 1. Houseal

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Stephen J. Bearman

LAW OFFICES OF STEPHEN J. BEARMAN
100 N. Main Building

Ste. 3009

1\/lemphis7 TN 38103

Don L Hearn
GLANKER BROWN
One Commerce Square
Ste 1700

1\/lemphis7 TN 38103

Timothy A. Ryan
THOMPSON & RYAN
5100 Poplar Ave.

Ste. 2700

1\/lemphis7 TN 38137

Aaron R. Parker

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis

254 Court Ave.
Second Floor
1\/lemphis7 TN 38103

Nathan A. Bicks

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

